

People v Marks (2018 NY Slip Op 07961)





People v Marks


2018 NY Slip Op 07961


Decided on November 20, 2018


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 20, 2018

Sweeny, J.P., Gische, Kapnick, Gesmer, Moulton, JJ.


5817/12 7678A 1372/14 7678

[*1] The People of the State of New York, Respondent,
vEmanuel Marks, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Brittany N. Francis of counsel), for appellant.
Emanuel Marks, appellant pro se.
Cyrus R. Vance, Jr., District Attorney, New York (Frank Glaser of counsel), for respondent.



Judgments, Supreme Court, New York County (Marcy L. Kahn, J.), rendered December 3, 2015, convicting defendant, upon his pleas of guilty, of identity theft in the second degree and criminal possession of stolen property in the fourth degree, and sentencing him, as a second felony offender, to concurrent terms of two to four years, unanimously affirmed.
The court providently exercised its discretion in denying defendant's motion to withdraw his guilty plea. "When a defendant moves to withdraw a guilty plea, the nature and extent of the fact-finding inquiry rest largely in the discretion of the Judge to whom the motion is made and a hearing will be granted only in rare instances" (People v Brown, 14 NY3d 113, 116 [2010] [internal quotation marks omitted]). The plea minutes demonstrate that defendant voluntarily, knowingly, and intelligently pleaded guilty in exchange for a favorable sentence (see People v Fiumefreddo, 82 NY2d 536, 543 [1993]). The court had sufficient information to determine that defendant's claim that his prior counsel's alleged ineffectiveness caused him to involuntarily plead guilty was without merit and did not warrant a hearing.
Defendant's excessive sentence argument is moot because he has completed his entire sentence.
We have considered and rejected defendant's pro se claims.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: NOVEMBER 20, 2018
DEPUTY CLERK








